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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNION PACIFIC RAILROAD CO.                                  CIVIL ACTION

VERSUS                                                      NO. 10-1207

LIL AL'S TOWING, INC., ET AL                               SECTION J(3)


                                    consolidated with

MICHAEL DARDAR                                              CIVIL ACTION

VERSUS                                                      NO. 11-0334

UNION PACIFIC RAILROAD CO.                                  SECTION J(3)

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                                       ORDER

        Considering the foregoing Motion for Dismissal (Rec. Doc. 93);

        IT IS ORDERED that the claims of plaintiff, Union Pacific Railroad Co. against Lil

Al's Towing, Inc. and Caillou Island Towing, Inc.; the claims of counter-claimants Caillou

Island Towing, Inc. and Lil Al's Towing, Inc against Union Pacific Railroad Co.; the

claims of plaintiff, Michael Dardar, against Union Pacific Railroad Co.; and the claims of

intervenor, Continental Insurance Company, against Union Pacific Railroad Co. be

dismissed with prejudice, and with each party to bear their own costs of court.
                             Hello This is a Test
                                                                January
        New Orleans, Louisiana, this ___________ day of ______________________,

2012.




                                                    United States District Judge
                                          U.S. DISTRICT JUDGE
